  Case 4:20-cv-00905-ALM Document 1 Filed 11/23/20 Page 1 of 85 PageID #: 1




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION

 AMERICAN PATENTS LLC,
                                                     CIVIL ACTION NO. 4:20-cv-905
      Plaintiff,
                                                     ORIGINAL COMPLAINT FOR
        v.                                           PATENT INFRINGEMENT

 DISH NETWORK CORPORATION, DISH                      JURY TRIAL DEMANDED
 NETWORK L.L.C., DISH NETWORK
 SERVICE L.L.C., and ARCADYAN
 TECHNOLOGY CORPORATION,


      Defendants.


               ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT

       Plaintiff American Patents LLC (“American Patents” or “Plaintiff”) files this original

complaint against Defendants Dish Network Corporation, Dish Network L.L.C., and Dish

Network Service L.L.C. (collectively, “Dish”) and Arcadyan Technology Corporation

(“Arcadyan”) (altogether, “Defendants”), alleging, based on its own knowledge as to itself and

its own actions and based on information and belief as to all other matters, as follows:

                                            PARTIES

       1.      American Patents is a limited liability company formed under the laws of the

State of Texas, with its principal place of business at 2325 Oak Alley, Tyler, Texas, 75703.

       2.      Dish Network Corporation is a corporation duly organized and existing under the

laws of Nevada. Dish Network Corporation may be served through its registered agent

Corporation Service Company, at 112 North Curry Street, Carson City, Nevada 89703.

       3.      Dish Network L.L.C. is a corporation duly organized and existing under the laws

of Colorado. Dish Network L.L.C. may be served through its registered agent Corporation
  Case 4:20-cv-00905-ALM Document 1 Filed 11/23/20 Page 2 of 85 PageID #: 2




Service Company d/b/a CSC-Lawyers Incorporated, at 211 E. 7th Street Suite 620 Austin, TX

78701.

          4.    Dish Network Service L.L.C. is a corporation duly organized and existing under

the laws of Colorado. Dish Network Service L.L.C. may be served through its registered agent

Corporation Service Company d/b/a CSC-Lawyers Incorporated, at 211 E. 7th Street Suite 620

Austin, TX 78701.

          5.    The Defendants identified in paragraphs 2-4 above (collectively, “Dish”) are an

interrelated group of companies which together comprise one of the world’s largest providers of

satellite television services and devices in the United States, including under the Dish Network

brand.

          6.    The Dish defendants named above and their affiliates are part of the same

corporate structure and distribution chain for the making, importing, offering to sell, selling, and

using of the accused devices in the United States, including in the State of Texas generally and

this judicial district in particular.

          7.    The Dish defendants named above and their affiliates share the same

management, common ownership, advertising platforms, facilities, distribution chains and

platforms, and accused product lines and products involving related technologies.

          8.    The Dish defendants regularly contract with customers regarding equipment or

services that will be provided by their affiliates on their behalf.

          9.    Thus, the Dish defendants named above and their affiliates operate as a unitary

business venture and are jointly and severally liable for the acts of patent infringement alleged

herein.




                                                   2
  Case 4:20-cv-00905-ALM Document 1 Filed 11/23/20 Page 3 of 85 PageID #: 3




       10.     Arcadyan Technology Corporation is a corporation duly organized and existing

under the laws of Taiwan and having a place of business at No. 8, Sec. 2, Guangfu Rd., Hsinchu

City 30071, Taiwan.

       11.     Arcadyan Technology Corporation and its foreign and United States subsidiaries,

affiliates, and related companies (“Arcadyan and its affiliates”) comprise one of the world’s

largest manufacturers of network communications devices, including under the Arcadyan, Dish,

and Xtream brands.

       12.     Arcadyan and its affiliates are part of the same corporate structure and distribution

chain for the making, importing, offering to sell, selling, and/or using of the accused devices in

the United States, including in the State of Texas generally and this judicial district in particular.

       13.     Arcadyan and its affiliates share the same management, common ownership,

advertising platforms, facilities, distribution chains and platforms, and accused product lines and

products involving related technologies.

       14.     Thus, Arcadyan and its affiliates operate as a unitary business venture and are

jointly and severally liable for the acts of patent infringement alleged herein.

       15.     The parties to this action are properly joined under 35 U.S.C. § 299 because the

right to relief asserted against Defendants jointly and severally arises out of the same series of

transactions or occurrences relating to the making and using of the same products or processes,

including wireless routers and related processes bearing the Dish brand or that are otherwise

made for use with services provided by Dish. Additionally, questions of fact common to all

defendants will arise in this action.




                                                  3
  Case 4:20-cv-00905-ALM Document 1 Filed 11/23/20 Page 4 of 85 PageID #: 4




                                 JURISDICTION AND VENUE

       16.     This is an action for infringement of United States patents arising under 35 U.S.C.

§§ 271, 281, and 284–85, among others. This Court has subject matter jurisdiction of the action

under 28 U.S.C. § 1331 and § 1338(a).

       17.     This Court has personal jurisdiction over Dish pursuant to due process and/or the

Texas Long Arm Statute because, inter alia, (i) Dish has done and continues to do business in

Texas; (ii) Dish has committed and continues to commit acts of patent infringement in the State

of Texas, including making, using, offering to sell, and/or selling accused products in Texas,

and/or importing accused products into Texas, including by Internet sales and sales via retail and

wholesale stores, inducing others to commit acts of patent infringement in Texas, and/or

committing a least a portion of any other infringements alleged herein; and (iii) Dish Network

L.L.C. and Dish Network Service L.L.C. are registered to do business in Texas.

       18.     This Court has personal jurisdiction over Arcadyan pursuant to due process and/or

the Texas Long Arm Statute because, inter alia, (i) Arcadyan has done and continues to do

business in Texas; and (ii) Arcadyan has committed and continues to commit acts of patent

infringement in the State of Texas, including making, using, offering to sell, and/or selling

accused products in Texas, and/or importing accused products into Texas, including by Internet

sales and sales via retail and wholesale stores, inducing others to commit acts of patent

infringement in Texas, and/or committing a least a portion of any other infringements alleged

herein. In the alternative, Arcadyan is subject to this Court’s specific personal jurisdiction

consistent with the principles of due process and the Federal Long-Arm Statute of Fed. R. Civ. P.

4(k)(2) because: (1) it has substantial contacts with the United States and committed and/or




                                                  4
  Case 4:20-cv-00905-ALM Document 1 Filed 11/23/20 Page 5 of 85 PageID #: 5




induced acts of patent infringement in the United States; and (2) it is not subject to jurisdiction in

any state’s courts of general jurisdiction.

       19.     Venue is proper in this district pursuant to 28 U.S.C. § 1400(b). Venue is further

proper because Dish has committed and continues to commit acts of patent infringement in this

district, including making, using, offering to sell, and/or selling accused products in this district,

and/or importing accused products into this district, including by Internet sales and sales via

retail and wholesale stores, inducing others to commit acts of patent infringement in Texas,

and/or committing at least a portion of any other infringements alleged herein in this district.

Dish has regular and established places of business in this district, including at least at 6826

Industrial Rd #D, Beaumont, TX 77705, and at 2100 Couch Drive, McKinney, TX 75069, as

shown in the pictures below. There are also Dish retail stores in the district, including a

“Premier Local Retailer” at 801 K Avenue, Plano, Texas 75074, as also shown below.




(Source: screenshot from https://maps.google.com)




                                                   5
  Case 4:20-cv-00905-ALM Document 1 Filed 11/23/20 Page 6 of 85 PageID #: 6




(Source: screenshot from Jefferson CAD website)




(Source: screenshot from https://maps.google.com)




                                              6
  Case 4:20-cv-00905-ALM Document 1 Filed 11/23/20 Page 7 of 85 PageID #: 7




(Source: screenshot from https://maps.google.com)




(Source: screenshot from Collin CAD website)




                                               7
  Case 4:20-cv-00905-ALM Document 1 Filed 11/23/20 Page 8 of 85 PageID #: 8




(Source: screenshot from https://maps.google.com)




(Source: screenshot from https://www.dishbeatscable.com/contact-us/)




                                              8
  Case 4:20-cv-00905-ALM Document 1 Filed 11/23/20 Page 9 of 85 PageID #: 9




(Source: screenshot from https://www.dishbeatscable.com/contact-us/)




(Source: screenshot from https://www.dish.com/opportunity/)

       20.     Venue is proper as to Arcadyan Technology Corporation, which is organized

under the laws of Taiwan. 28 U.S.C. § 1391(c)(3) provides that “a defendant not resident in the

United States may be sued in any judicial district, and the joinder of such a defendant shall be

disregarded in determining where the action may be brought with respect to other defendants.”

                                        BACKGROUND

       21.     The patents-in-suit generally pertain to communications networks and other

technology used in “smart” devices such as smartphones, smart TVs, and smart appliances. The




                                                 9
 Case 4:20-cv-00905-ALM Document 1 Filed 11/23/20 Page 10 of 85 PageID #: 10




technology disclosed by the patents was developed by personnel at Georgia Institute of

Technology (“Georgia Tech”) and Nokia Corporation (“Nokia”).

       22.     Georgia Tech is a leading public research university located in Atlanta, Georgia.

Founded in 1885, Georgia Tech is often ranked as one of the top ten public universities in the

United States. The patents from Georgia Tech (“the Mody patents”) were developed by a

professor and a graduate student in Georgia Tech’s Electrical and Computer Engineering

department. The undergraduate and graduate programs of this department are often ranked in the

top five of their respective categories.

       23.     The Mody patents are related to Multi-Input, Multi-Output (MIMO) technology.

The inventors of the Mody patents were at the forefront of MIMO, developing, disclosing, and

patenting a solution for achieving both time and frequency synchronization in MIMO systems.

The Mody patents (or the applications leading to them) have been cited during patent prosecution

hundreds of times, by numerous leading companies in the computing and communications

industries, including AMD, Alcatel Lucent, Altair, AT&T, Atheros, Blackberry, Broadcom,

Comcast, Ericsson, Facebook, HP, Hitachi, Huawei, Infineon, Intel, Interdigital, IBM, Kyocera,

Marvell, Matsushita, Mediatek, Motorola, NEC, Nokia, Nortel Networks, NXP, Panasonic,

Philips, Qualcomm, Realtek, Samsung, Sanyo, Sharp, Sony, STMicroelectronics, Texas

Instruments, and Toshiba.

       24.     Nokia is a Finnish multinational telecommunications, IT, and consumer

electronics company. Listed on both the Helsinki Stock Exchange and the New York Stock

Exchange, Nokia regularly makes the Fortune Global 500. Nokia has been the largest worldwide

vendor of mobile phones and smartphones and has been a major contributor to the mobile phone

industry.



                                               10
 Case 4:20-cv-00905-ALM Document 1 Filed 11/23/20 Page 11 of 85 PageID #: 11




       25.     The patent developed at Nokia (“the Rauhala patent”) is related to reduction of

interference in receivers with multiple antennas. The inventors of the Rauhala patent have a

combined fifty plus years of experience at Nokia and were prolific inventors for Nokia. Inventor

Jyri Rauhala spent over 25 years at Nokia. Mr. Rauhala obtained a Master of Science in Applied

Electronics, Digital Electronics from Tampere University of Technology in Finland and is named

as an inventor on 15 U.S. patents. Inventor Olli-Pekka Lunden spent over 8 years at Nokia. Dr.

Lunden obtained a Doctor of Science in Technology, Radio Engineering from Aalto University

and is named as an inventor on 5 U.S. patents. Currently, Dr. Lunden works as a university

lecturer at Tampere University of Technology in Finland. Inventor Marko Erkkila spent over

twenty years at Nokia. Mr. Erkkila obtained a Master of Science in Digital Signal Processing,

Electronics, Computer Science from Tampere University of Technology in Finland and is named

as an inventor on 6 U.S. patents.

                                            COUNT I

                DIRECT INFRINGEMENT OF U.S. PATENT NO. 7,088,782

       26.     On August 8, 2006, United States Patent No. 7,088,782 (“the ‘782 Patent”) was

duly and legally issued by the United States Patent and Trademark Office for an invention

entitled “Time And Frequency Synchronization In Multi-Input, Multi-Output (MIMO) Systems.”

       27.     American Patents is the owner of the ‘782 Patent, with all substantive rights in

and to that patent, including the sole and exclusive right to prosecute this action and enforce the

‘782 Patent against infringers, and to collect damages for all relevant times.

       28.     Defendants used products and/or systems that include 802.11n and above

capabilities (“accused products”).




                                                 11
Case 4:20-cv-00905-ALM Document 1 Filed 11/23/20 Page 12 of 85 PageID #: 12




        29.   Dish and Arcadyan used Dish branded products and/or systems including, for

example, their Dish Wireless Joey (made by Arcadyan) and Dish Hopper 3 families of products

that include 802.11n and above capabilities (“accused products”):




(Source: https://www.dish.com/equipment/joey-receivers/wireless-joey/)




(Source: http://about.dish.com/2014-06-23-DISH-Eliminates-Wire-Clutter-with-New-Wireless-

Joey)




                                               12
Case 4:20-cv-00905-ALM Document 1 Filed 11/23/20 Page 13 of 85 PageID #: 13




(Source: https://www.dish.com/equipment/dvrs/hopper-3/)




(Source: https://fccid.io/DKN1018/Users-Manual/User-Guide-ID082-2740478)




                                            13
Case 4:20-cv-00905-ALM Document 1 Filed 11/23/20 Page 14 of 85 PageID #: 14




(Source: https://fccid.io/DKN1018/Test-Report/15U20805-E3A-FCC-IC-UNII-WLAN-Report-

Final-No-Photos-2740582.iframe)

       30.     By doing so, Defendants have directly infringed (literally and/or under the

doctrine of equivalents) at least Claim 30 of the ‘782 Patent. Defendants’ infringement in this

regard is ongoing.

       31.     Defendants have infringed the ‘782 Patent by using the accused products and

thereby practicing a method for synchronizing a Multi-Input Multi-Output (MIMO) Orthogonal

Frequency Division Multiplexing (OFDM) system in time and frequency domains. For example,

the accused products support IEEE 802.11 n/ac standards and MIMO technology. According to

the IEEE 802.11n standard, the PLCP Protocol Data Unit (PPDU) has training fields and

signaling fields for helping in synchronizing the communication system.




                                                14
Case 4:20-cv-00905-ALM Document 1 Filed 11/23/20 Page 15 of 85 PageID #: 15




(Source: http://about.dish.com/2014-06-23-DISH-Eliminates-Wire-Clutter-with-New-Wireless-

Joey)




(Source: https://fccid.io/DKN1018/Users-Manual/User-Guide-ID082-2740478)




                                            15
Case 4:20-cv-00905-ALM Document 1 Filed 11/23/20 Page 16 of 85 PageID #: 16




(Source: https://fccid.io/DKN1018/Test-Report/15U20805-E3A-FCC-IC-UNII-WLAN-Report-

Final-No-Photos-2740582.iframe)




      (Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)



                                             16
Case 4:20-cv-00905-ALM Document 1 Filed 11/23/20 Page 17 of 85 PageID #: 17




     (Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




     (Source: https://www.cnrood.com/en/media/solutions/Wi-

     Fi_Overview_of_the_802.11_Physical_Layer.pdf)




                                            17
 Case 4:20-cv-00905-ALM Document 1 Filed 11/23/20 Page 18 of 85 PageID #: 18




       32.     The methods practiced by Defendants’ use of the accused products include

producing a frame of data comprising a training symbol that includes a synchronization

component that aids in synchronization, a plurality of data symbols, and a plurality of cyclic

prefixes. For example, as part of the 802.11n standard, two preamble formats are defined for

frames: HT-mixed format and HT-greenfield format. The non-HT and HT-mixed format

preambles consist of training symbols, data symbols and guard intervals/cyclic prefixes, and the

training symbols (L-STF and L-LTF fields) are and have been used for frame synchronization.

Alternatively, on request from accused products, an 802.11 n/ac compliant WiFi access point can

act as a transmitter and perform the step of producing a frame of data comprising a training

symbol that includes a synchronization component that aids in synchronization, a plurality of

data symbols, and a plurality of cyclic prefixes.




       (Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




                                                    18
Case 4:20-cv-00905-ALM Document 1 Filed 11/23/20 Page 19 of 85 PageID #: 19




     (Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




     (Source: https://www.cnrood.com/en/media/solutions/Wi-

     Fi_Overview_of_the_802.11_Physical_Layer.pdf)




                                            19
Case 4:20-cv-00905-ALM Document 1 Filed 11/23/20 Page 20 of 85 PageID #: 20




       (Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)

       33.     The methods practiced by Defendants’ use of the accused products include

transmitting the frame over a channel. The data frames containing the preambles are transmitted

using one or more transmitting antennas. Alternatively, on request from an accused product, an

802.11 n/ac compliant WiFi access point can act as a transmitter and transmit the frame over a

channel using one or more transmitting antennas.




       (Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




       (Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)

       34.     The methods practiced by Defendants’ use of the accused products include

receiving the transmitted frame. For example, the receiving antennas of the accused products

can receive the transmitted frames for further processing.


                                                20
 Case 4:20-cv-00905-ALM Document 1 Filed 11/23/20 Page 21 of 85 PageID #: 21




       (Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)

       35.     The methods practiced by Defendants’ use of the accused products include

demodulating the received frame. For example, the received data frames are demodulated using

the PLCP preambles.




       (Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)

       36.     The methods practiced by Defendants’ use of the accused products include

synchronizing the received demodulated frame to the transmitted frame such that the data

symbols are synchronized in the time domain and frequency domain. For example, different

fields of data like training symbols, cyclic prefixes and other signal bits are present in the

received frame. The training symbols (L-STF and L-LTF fields) help in synchronizing the frame

in both the time domain and frequency domain.




                                                  21
Case 4:20-cv-00905-ALM Document 1 Filed 11/23/20 Page 22 of 85 PageID #: 22




(Source: http://about.dish.com/2014-06-23-DISH-Eliminates-Wire-Clutter-with-New-Wireless-

Joey)




(Source: https://fccid.io/DKN1018/Users-Manual/User-Guide-ID082-2740478)




                                            22
Case 4:20-cv-00905-ALM Document 1 Filed 11/23/20 Page 23 of 85 PageID #: 23




(Source: https://fccid.io/DKN1018/Test-Report/15U20805-E3A-FCC-IC-UNII-WLAN-Report-

Final-No-Photos-2740582.iframe)




(Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




                                              23
Case 4:20-cv-00905-ALM Document 1 Filed 11/23/20 Page 24 of 85 PageID #: 24




(Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




(Source: https://www.iith.ac.in/~tbr/teaching/docs/802.11-2007.pdf)

       37.    The methods practiced by Defendants’ use of the accused products include

wherein the synchronizing in the time domain comprises coarse time synchronizing and fine time

synchronizing. For example, the demodulation of PPDU frames also includes detecting training

field bits and establishing a timing synchronization. This time synchronization would include

both coarse and fine time synchronization. In general, coarse time synchronization is done using

L-STF field and fine time synchronization is done using L-LTF field present in the preamble.




                                               24
Case 4:20-cv-00905-ALM Document 1 Filed 11/23/20 Page 25 of 85 PageID #: 25




     (Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




     (Source: Introduction to MIMO Communications, Hampton, Jerry R. (2014))




                                            25
 Case 4:20-cv-00905-ALM Document 1 Filed 11/23/20 Page 26 of 85 PageID #: 26




       (Source: Next Generation Wireless LANs: 802.11n and 802.11ac, Perahia, Eldad and

       Stacey, Robert)

       38.     Defendants have had actual knowledge of the ‘782 Patent at least as of the date

when they were notified of the filing of this action. By the time of trial, Defendants will have

known and intended (since receiving such notice) that their continued actions would infringe and

actively induce and contribute to the infringement of one or more claims of the ‘782 Patent.

       39.     American Patents has been damaged as a result of the infringing conduct by

Defendants alleged above. Thus, Defendants are liable to American Patents in an amount that

adequately compensates it for such infringements, which, by law, cannot be less than a

reasonable royalty, together with interest and costs as fixed by this Court under 35 U.S.C. § 284.

       40.     American Patents and/or its predecessors-in-interest have satisfied all statutory

obligations required to collect pre-filing damages for the full period allowed by law for

infringement of the ‘782 Patent.




                                                26
 Case 4:20-cv-00905-ALM Document 1 Filed 11/23/20 Page 27 of 85 PageID #: 27




                                            COUNT II

                DIRECT INFRINGEMENT OF U.S. PATENT NO. 7,310,304

       41.     On December 18, 2007, United States Patent No. 7,310,304 (“the ‘304 Patent”)

was duly and legally issued by the United States Patent and Trademark Office for an invention

entitled “Estimating Channel Parameters in Multi-Input, Multi-Output (MIMO) Systems.”

       42.     American Patents is the owner of the ‘304 Patent, with all substantive rights in

and to that patent, including the sole and exclusive right to prosecute this action and enforce the

‘304 Patent against infringers, and to collect damages for all relevant times.

       43.     Defendants made, had made, used, imported, provided, supplied, distributed, sold,

and/or offered for sale products and/or systems that include 802.11n and above capabilities

(“accused products”).

       44.     Dish and Arcadyan made, had made, used, imported, provided, supplied,

distributed, sold, and/or offered for sale Dish branded products and/or systems including, for

example, their Dish Wireless Joey (made by Arcadyan) and Dish Hopper 3 families of products

that include 802.11n and above capabilities (“accused products”):




(Source: https://www.dish.com/equipment/joey-receivers/wireless-joey/)



                                                 27
Case 4:20-cv-00905-ALM Document 1 Filed 11/23/20 Page 28 of 85 PageID #: 28




(Source: http://about.dish.com/2014-06-23-DISH-Eliminates-Wire-Clutter-with-New-Wireless-

Joey)




(Source: https://www.dish.com/equipment/dvrs/hopper-3/)




                                            28
Case 4:20-cv-00905-ALM Document 1 Filed 11/23/20 Page 29 of 85 PageID #: 29




(Source: https://fccid.io/DKN1018/Users-Manual/User-Guide-ID082-2740478)




(Source: https://fccid.io/DKN1018/Test-Report/15U20805-E3A-FCC-IC-UNII-WLAN-Report-

Final-No-Photos-2740582.iframe)



                                           29
 Case 4:20-cv-00905-ALM Document 1 Filed 11/23/20 Page 30 of 85 PageID #: 30




       45.     By doing so, Defendants have directly infringed (literally and/or under the

doctrine of equivalents) at least Claim 1 of the ‘304 Patent. Defendants’ infringement in this

regard is ongoing.

       46.     Defendants have infringed the ‘304 Patent by making, having made, using,

importing, providing, supplying, distributing, selling or offering for sale products including an

Orthogonal Frequency Division Multiplexing (OFDM) transmitter. For example, the accused

products support IEEE 802.11 n/ac standards and MIMO technology. The IEEE 802.11n

standard “uses OFDM modulation to transmit all data.”




       (Source:

       http://rfmw.em.keysight.com/wireless/helpfiles/89600b/webhelp/subsystems/wlan-

       mimo/Content/mimo_80211n_overview.htm)

       47.     The accused products include an encoder configured to process data to be

transmitted within an OFDM system, the encoder further configured to separate the data onto

one or more transmit diversity branches (TDBs). For example, the 802.11 ac standard is

backwards compatible with 802.11n and 802.11a. Thus, if a device, such as an accused product,

implements 802.11ac, then it also supports 802.11n and all previous versions of the WiFi



                                                30
 Case 4:20-cv-00905-ALM Document 1 Filed 11/23/20 Page 31 of 85 PageID #: 31




standards (i.e., IEEE 802.11 a/b/g/n). According to the IEEE 802.11n standard, an encoder block

is present in a transmitter section of general OFDM systems. The encoder(s) output(s) the data

onto multiple transmit chains (transmit diversity branches) for further processing.




       (Source: 802.11ac: A Survival Guide: Wi-Fi at Gigabit and Beyond, Gast, Matthew S.)




       (Source: 802.11ac: A Survival Guide: Wi-Fi at Gigabit and Beyond, Gast, Matthew S.)




                                                31
Case 4:20-cv-00905-ALM Document 1 Filed 11/23/20 Page 32 of 85 PageID #: 32




     (Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




                                            32
 Case 4:20-cv-00905-ALM Document 1 Filed 11/23/20 Page 33 of 85 PageID #: 33




       (Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)

       48.     The accused products include one or more OFDM modulators, each OFDM

modulator connected to a respective TDB, each OFDM modulator configured to produce a frame

including a plurality of data symbols, a training structure, and cyclic prefixes inserted among the

data symbols. For example, according to the IEEE 802.11n standard, a transmitter block would

contain different functional blocks which include constellation mappers, IDFT stage, and Guard

interval insertion. The constellation mapper maps the bits and the constellation points for

different modulation schemes like QPSK, BPSK, 16-QAM, and 64-QAM. Hence, there would

be modulator blocks for performing the modulation. After modulating the signal, it is converted




                                                33
 Case 4:20-cv-00905-ALM Document 1 Filed 11/23/20 Page 34 of 85 PageID #: 34




into the time domain and is transmitted as frames of data. These transmitted frames include a

training structure, signal bits, cyclic prefixes and data bits.




        (Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




                                                   34
Case 4:20-cv-00905-ALM Document 1 Filed 11/23/20 Page 35 of 85 PageID #: 35




     (Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




                                            35
Case 4:20-cv-00905-ALM Document 1 Filed 11/23/20 Page 36 of 85 PageID #: 36




       (Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)

       49.    The accused products include one or more transmitting antennas in

communication with the one or more OFDM modulators, respectively, each transmitting antenna

configured to transmit the respective frame over a channel. The accused products support 802.11

a/b/g/n/ac WiFi standards and comprise one or more transmitting and one or more receiving

antennas. These transmitting antennas transmit multiple OFDM frames with various signal

fields over a channel. Thus, these transmitting antennas are connected to the OFDM modulators

to obtain the OFDM frames for further transmission.




                                              36
Case 4:20-cv-00905-ALM Document 1 Filed 11/23/20 Page 37 of 85 PageID #: 37




(Source: http://about.dish.com/2014-06-23-DISH-Eliminates-Wire-Clutter-with-New-Wireless-

Joey)




(Source: https://fccid.io/DKN1018/Users-Manual/User-Guide-ID082-2740478)




                                            37
Case 4:20-cv-00905-ALM Document 1 Filed 11/23/20 Page 38 of 85 PageID #: 38




(Source: https://fccid.io/DKN1018/Test-Report/15U20805-E3A-FCC-IC-UNII-WLAN-Report-

Final-No-Photos-2740582.iframe)




(Source: http://rfmw.em.keysight.com/wireless/helpfiles/89600b/webhelp/subsystems/wlan-

mimo/Content/mimo_80211n_overview.htm)




                                            38
 Case 4:20-cv-00905-ALM Document 1 Filed 11/23/20 Page 39 of 85 PageID #: 39




(Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)

       50.     The accused products include wherein the training structure of each frame

includes a predetermined signal transmission matrix at a respective sub-channel, each training

structure adjusted to have a substantially constant amplitude in a time domain, and the cyclic

prefixes are further inserted within the training symbol, and wherein the cyclic prefixes within

the training symbol are longer than the cyclic prefixes among the data symbols, thereby

countering an extended channel impulse response and improving synchronization performance.

For example, a space time matrix is part of the data symbols and the training symbols in the

transmission data. This data is transmitted over different antennas. The WiFi standards use

guard intervals while transmitting frames to help the synchronization of frames at the receiver

end. These guard intervals are of different lengths for the preamble and data symbols. The

screenshots below show the Guard interval in the Long Training Field is 1.6 micro seconds, and


                                                39
 Case 4:20-cv-00905-ALM Document 1 Filed 11/23/20 Page 40 of 85 PageID #: 40




the data field uses a Short guard interval of 0.4 micro seconds, so the cyclic prefix for the

training symbols is longer than the cyclic prefix for data symbols. The training symbols (L-STF,

HT-STF fields) in the 802.11n preamble have a constant amplitude in the time domain.




(Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




(Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




                                                 40
Case 4:20-cv-00905-ALM Document 1 Filed 11/23/20 Page 41 of 85 PageID #: 41




(Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




(Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




(Source: http://www.ahltek.com/WhitePaperspdf/802.11-20%20specs/802.11a-1999.pdf)




                                              41
 Case 4:20-cv-00905-ALM Document 1 Filed 11/23/20 Page 42 of 85 PageID #: 42




(Source: Next Generation Wireless LANs: 802.11n and 802.11ac, Perahia, Eldad and Stacey,

Robert)

       51.     Defendants have had actual knowledge of the ‘304 Patent at least as of the date

when it was notified of the filing of this action. By the time of trial, Defendants will have known

and intended (since receiving such notice) that their continued actions would infringe and

actively induce and contribute to the infringement of one or more claims of the ‘304 Patent.

       52.     American Patents has been damaged as a result of the infringing conduct by

Defendants alleged above. Thus, Defendants are liable to American Patents in an amount that

adequately compensates it for such infringements, which, by law, cannot be less than a

reasonable royalty, together with interest and costs as fixed by this Court under 35 U.S.C. § 284.

       53.     American Patents and/or its predecessors-in-interest have satisfied all statutory

obligations required to collect pre-filing damages for the full period allowed by law for

infringement of the ‘304 Patent.


                                                42
 Case 4:20-cv-00905-ALM Document 1 Filed 11/23/20 Page 43 of 85 PageID #: 43




                                           COUNT III

                DIRECT INFRINGEMENT OF U.S. PATENT NO. 7,706,458

       54.     On April 27, 2010, United States Patent No. 7,706,458 (“the ‘458 Patent”) was

duly and legally issued by the United States Patent and Trademark Office for an invention

entitled “Time And Frequency Synchronization In Multi-Input, Multi-Output (MIMO) Systems.”

       55.     American Patents is the owner of the ‘458 Patent, with all substantive rights in

and to that patent, including the sole and exclusive right to prosecute this action and enforce the

‘458 Patent against infringers, and to collect damages for all relevant times.

       56.     Defendants made, had made, used, imported, provided, supplied, distributed, sold,

and/or offered for sale products and/or systems that include 802.11n and above capabilities

(“accused products”).

       57.     Dish and Arcadyan made, had made, used, imported, provided, supplied,

distributed, sold, and/or offered for sale Dish branded products and/or systems including, for

example, their Dish Wireless Joey (made by Arcadyan) and Dish Hopper 3 families of products

that include 802.11n and above capabilities (“accused products”):




(Source: https://www.dish.com/equipment/joey-receivers/wireless-joey/)



                                                 43
Case 4:20-cv-00905-ALM Document 1 Filed 11/23/20 Page 44 of 85 PageID #: 44




(Source: http://about.dish.com/2014-06-23-DISH-Eliminates-Wire-Clutter-with-New-Wireless-

Joey)




(Source: https://www.dish.com/equipment/dvrs/hopper-3/)




                                            44
Case 4:20-cv-00905-ALM Document 1 Filed 11/23/20 Page 45 of 85 PageID #: 45




(Source: https://fccid.io/DKN1018/Users-Manual/User-Guide-ID082-2740478)




(Source: https://fccid.io/DKN1018/Test-Report/15U20805-E3A-FCC-IC-UNII-WLAN-Report-

Final-No-Photos-2740582.iframe)



                                           45
 Case 4:20-cv-00905-ALM Document 1 Filed 11/23/20 Page 46 of 85 PageID #: 46




       58.     By doing so, Defendants have directly infringed (literally and/or under the

doctrine of equivalents) at least Claim 1 of the ‘458 Patent. Defendants’ infringement in this

regard is ongoing.

       59.     Defendants have infringed the ‘458 Patent by making, having made, using,

importing, providing, supplying, distributing, selling or offering for sale products including an

apparatus for synchronizing a communication system. For example, the accused products can

act and have acted as a receiver in an apparatus for synchronizing a communication system. An

802.11 n/ac compliant WiFi access point that is communicating with an accused product can be

part of the apparatus, acting as a transmitter. The accused products support IEEE 802.11 n/ac

standards and MIMO technology. The IEEE 802.11ac standard is backwards compatible with

the 802.11n standard. If a device such as an accused product complies with IEEE 802.11ac, it

also complies with IEEE 802.11n and all prior versions of the WiFi standards (802.11 a/b/g/n).

According to the 802.11a standard, the physical layer services include an OFDM system.

According to the IEEE 802.11n standard, all Protocol Data Unit (PPDU) frame formats have

training fields and signaling fields which would help in synchronizing the communication

system.




       (Source: 802.11ac: A Survival Guide: Wi-Fi at Gigabit and Beyond, Gast, Matthew S.)



                                                46
Case 4:20-cv-00905-ALM Document 1 Filed 11/23/20 Page 47 of 85 PageID #: 47




     (Source: 802.11ac: A Survival Guide: Wi-Fi at Gigabit and Beyond, Gast, Matthew S.)




     (Source: https://standards.ieee.org/standard/802_11a-1999.html)




                                            47
Case 4:20-cv-00905-ALM Document 1 Filed 11/23/20 Page 48 of 85 PageID #: 48




      (Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




      (Source: https://ieeexplore.ieee.org/document/7797535/)

      60.    The accused products include a number (Q) of Orthogonal Frequency Division

Multiplexing (OFDM) modulators, each OFDM modulator producing a frame having at least one

                                             48
 Case 4:20-cv-00905-ALM Document 1 Filed 11/23/20 Page 49 of 85 PageID #: 49




inserted symbol, a plurality of data symbols, and cyclic prefixes. According to the IEEE 802.11n

standard, a transmitter block contains different functional blocks which include, but are not

limited to, constellation mappers, IDFT stage, and Guard interval insertion. Constellation

mappers map the bits and the constellation points for different modulation schemes like QPSK,

BPSK, 16-QAM, 64-QAM. After modulating the signal, it is converted into time domain and is

transmitted as frames of data. These transmitted frames include training field bits, signal bits,

cyclic prefixes and data bits. Alternatively, on request from an accused product, an 802.11 n/ac

compliant WiFi access point can act as a transmitter that includes a number (Q) of OFDM

modulators, each OFDM modulator producing a frame having at least one inserted symbol, a

plurality of data symbols, and cyclic prefixes.




       (Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)



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Case 4:20-cv-00905-ALM Document 1 Filed 11/23/20 Page 50 of 85 PageID #: 50




     (Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




     (Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




                                            50
Case 4:20-cv-00905-ALM Document 1 Filed 11/23/20 Page 51 of 85 PageID #: 51




        61.    The accused products include Q transmitting antennas, each transmitting antenna

connected to a respective OFDM modulator, the transmitting antennas configured to transmit a

respective frame over a channel. The accused products support MIMO and comply with IEEE

802.11 a/b/g/n/ac standards. The transmitting antennas transmit multiple OFDM frames over a

channel. The transmitting antennas are connected to OFDM modulators to transmit the OFDM

frames over a channel. Alternatively, on request from an accused product, a WiFi access point

acts as a device that includes Q transmitting antennas, each transmitting antenna connected to a

respective OFDM modulator, the transmitting antennas configured to transmit a respective frame

over a channel.




(Source: http://about.dish.com/2014-06-23-DISH-Eliminates-Wire-Clutter-with-New-Wireless-

Joey)




                                               51
Case 4:20-cv-00905-ALM Document 1 Filed 11/23/20 Page 52 of 85 PageID #: 52




(Source: https://fccid.io/DKN1018/Users-Manual/User-Guide-ID082-2740478)




(Source: https://fccid.io/DKN1018/Test-Report/15U20805-E3A-FCC-IC-UNII-WLAN-Report-

Final-No-Photos-2740582.iframe)



                                           52
Case 4:20-cv-00905-ALM Document 1 Filed 11/23/20 Page 53 of 85 PageID #: 53




(Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)

       62.    The accused products include a number (L) of receiving antennas for receiving

the transmitted frames. For example, the accused products support MIMO and comply with

802.11 a/b/g/n/ac WiFi standards. The receiving antennas receive the transmitted frames.




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Case 4:20-cv-00905-ALM Document 1 Filed 11/23/20 Page 54 of 85 PageID #: 54




(Source: http://about.dish.com/2014-06-23-DISH-Eliminates-Wire-Clutter-with-New-Wireless-

Joey)




(Source: https://fccid.io/DKN1018/Users-Manual/User-Guide-ID082-2740478)




                                            54
 Case 4:20-cv-00905-ALM Document 1 Filed 11/23/20 Page 55 of 85 PageID #: 55




(Source: https://fccid.io/DKN1018/Test-Report/15U20805-E3A-FCC-IC-UNII-WLAN-Report-

Final-No-Photos-2740582.iframe)

       63.     The accused products include L OFDM demodulators, each OFDM demodulator

corresponding to a respective receiving antenna, the L OFDM demodulators including a

synchronization circuit that processes the received frame in order to synchronize the received

frame in both time domain and frequency domain. For example, there is a demodulator block for

performing demodulation on the received frames. Further, synchronizing the received frame in

time and frequency domains occurs. In an OFDM transmitter section, a modulated signal is

converted into time domain and is transmitted as multiple frames of data. The functional blocks

present at the receiver end processes the received data, converts the data into frequency domain,

and performs demodulation. Various signal bits present in the transmitted frames’ preamble

helps in demodulating the signal. A demodulator block is present at the receiver to perform

demodulation. Different fields of data like training bits, cyclic prefixes and other signal bits

present in the received frame helps in synchronizing the frame in both time and frequency


                                                 55
Case 4:20-cv-00905-ALM Document 1 Filed 11/23/20 Page 56 of 85 PageID #: 56




domain. There is a synchronization circuit which processes the received frame and synchronizes

them in both time and frequency domain.




       (Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




       (Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




                                              56
 Case 4:20-cv-00905-ALM Document 1 Filed 11/23/20 Page 57 of 85 PageID #: 57




       (Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




       (Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)

       64.     The accused products include wherein each of the L OFDM demodulators

comprises a pre-amplifier, a local oscillator, a mixer having a first input and a second input, the


                                                 57
 Case 4:20-cv-00905-ALM Document 1 Filed 11/23/20 Page 58 of 85 PageID #: 58




first input connected to an output of the pre-amplifier, the second input connected to an output of

the local oscillator, an analog-to-digital converter (ADC) connected to an output of the mixer.

The demodulating section at the receiver end includes a pre-amplifier, a local oscillator, a mixer,

and an ADC. The received frames undergo filtering, amplification (pre-amplifier), down-

conversion and sampling (ADC). There are respective functional blocks for performing these

functions. After transmitting the data, the data is received by a receiving antenna for further

processing. To prevent the demodulator from demodulating the noise associated with the

received signal, an RF front end circuit is implemented to increase the SNR of the demodulated

signal. The RF front end circuit generally consists of amplifiers, local oscillator, filters and

mixers. The output from the mixer is generally fed to an analog-to-digital converter (ADC).

This RF front end circuit generally lies at the start of the demodulation process.




       (Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




       (Source: VLSI for Wireless Communication)




                                                 58
Case 4:20-cv-00905-ALM Document 1 Filed 11/23/20 Page 59 of 85 PageID #: 59




     (Source: VLSI for Wireless Communication)




     (Source: VLSI for Wireless Communication)




     (Source: RF Imperfections in High-rate Wireless Systems: Impact and Digital

     Compression, Schenk, Tim)




                                           59
Case 4:20-cv-00905-ALM Document 1 Filed 11/23/20 Page 60 of 85 PageID #: 60




       (Source: https://www.eetimes.com/document.asp?doc_id=1276331)

       65.    The accused products include the synchronization circuit having one input

connected to an output of the ADC. The PPDU frames that are transmitted are demodulated at

the receiver end. The demodulation process includes estimating time and frequency offsets and

synchronizing accordingly.




       (Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




                                              60
 Case 4:20-cv-00905-ALM Document 1 Filed 11/23/20 Page 61 of 85 PageID #: 61




       (Source: https://www.eetimes.com/document.asp?doc_id=1276331)

       66.     The accused products include a cyclic-prefix remover connected to an output of

the synchronization circuit, a serial-to-parallel converter connected to an output of the cyclic

prefix remover, and a discrete Fournier transform (DFT) stage connected to an output of the

serial-to-parallel converter, an output of the DFT stage connected to another input to the

synchronization circuit. Cyclic prefixes are added in the preamble for each transmitted frame.

In a general OFDM system, a cyclic prefix remover circuit would be present at the receiver end.

The output from the cyclic prefix remover circuit would be fed to a serial-to-parallel converter

for performing a DFT operation on its output. The evidence also shows that the output of the

DFT stage is connected to the phase correction block that is part of the synchronization circuit.




                                                 61
Case 4:20-cv-00905-ALM Document 1 Filed 11/23/20 Page 62 of 85 PageID #: 62




     (Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




     (Source: RF Imperfections in High-rate Wireless Systems: Impact and Digital

     Compression, Schenk, Tim)




                                            62
 Case 4:20-cv-00905-ALM Document 1 Filed 11/23/20 Page 63 of 85 PageID #: 63




       (Source: Next Generation Wireless LANs: 802.11n and 802.11ac, Perahia, Eldad and

       Stacey, Robert)

       67.     Defendants have had actual knowledge of the ‘458 Patent at least as of the date

when it was notified of the filing of this action. By the time of trial, Defendants will have known

and intended (since receiving such notice) that their continued actions would infringe and

actively induce and contribute to the infringement of one or more claims of the ‘458 Patent.

       68.     American Patents has been damaged as a result of the infringing conduct by

Defendants alleged above. Thus, Defendants are liable to American Patents in an amount that

adequately compensates it for such infringements, which, by law, cannot be less than a

reasonable royalty, together with interest and costs as fixed by this Court under 35 U.S.C. § 284.

       69.     American Patents and/or its predecessors-in-interest have satisfied all statutory

obligations required to collect pre-filing damages for the full period allowed by law for

infringement of the ‘458 Patent.



                                                63
 Case 4:20-cv-00905-ALM Document 1 Filed 11/23/20 Page 64 of 85 PageID #: 64




                                           COUNT IV

                DIRECT INFRINGEMENT OF U.S. PATENT NO. 6,847,803

       70.     On January 25, 2005, United States Patent No. 6,847,803 (“the ‘803 Patent”) was

duly and legally issued by the United States Patent and Trademark Office for an invention

entitled “Method for Reducing Interference in a Receiver.”

       71.     American Patents is the owner of the ‘803 Patent, with all substantive rights in

and to that patent, including the sole and exclusive right to prosecute this action and enforce the

‘803 Patent against infringers, and to collect damages for all relevant times.

       72.     Defendants made, had made, used, imported, provided, supplied, distributed, sold,

and/or offered for sale products and/or systems that include 802.11ac beamforming capabilities

(“accused products”).

       73.     Dish and Arcadyan made, had made, used, imported, provided, supplied,

distributed, sold, and/or offered for sale Dish branded products and/or systems including, for

example, their Dish Wireless Joey (made by Arcadyan) family of products, that include 802.11ac

beamforming capabilities (“accused products”):




(Source: https://www.dish.com/equipment/joey-receivers/wireless-joey/)



                                                 64
 Case 4:20-cv-00905-ALM Document 1 Filed 11/23/20 Page 65 of 85 PageID #: 65




(Source: http://about.dish.com/2014-06-23-DISH-Eliminates-Wire-Clutter-with-New-Wireless-

Joey)

        74.    By doing so, Defendants have directly infringed (literally and/or under the

doctrine of equivalents) at least Claim 1 of the ‘803 Patent.

        75.    Defendants have infringed the ‘803 Patent by using the accused products and

thereby practicing a method for reducing interference in a receiver for receiving information in

receiving time slots, in which receiver signals are received with at least a first antenna (ANT1)

and a second antenna (ANT2). For example, the accused products are and have been used by

Defendant to implement the IEEE 802.11-2016 Standard. Devices that can communicate using

802.11 protocol are known as Stations (STAs). Multiple Input Multiple Output (MIMO) and

Beamforming techniques are and have been used by a STA with multiple antennas for steering

the signals to each STA (“receiver”) for reception. In such MIMO transmissions, the space-time

streams in the transmitted signal would be intended for reception by each STA in its

corresponding time slots. These time slots at which the STA receives the space-time streams

with actual data information can be construed as receiving time slots. Since, there are multiple


                                                 65
 Case 4:20-cv-00905-ALM Document 1 Filed 11/23/20 Page 66 of 85 PageID #: 66




antennas, when they transmit simultaneously, the signal appears as interference at each of the

receive antennas. Further, a STA will also be able to identify the space-time streams intended for

other STAs that act as interference. STA uses the channel state information that is obtained by

estimating a channel to reduce the interference caused by other space time streams. The

beamforming calibration procedures (“method for reducing interference”) involves channel

estimation and matrix calculations which help in reducing the interference in a receiver. Indeed,

the IEEE 802.11-2016 Standard shows MIMO systems with two STAs (i.e., STA A and STA B)

using multiple antennas (“a first antenna (ANT1) and a second antenna (ANT2)”) for receiving

transmitted signals.




       (Source : IEEE 802.11-2016 Standard, p. 2578)




       (Source : IEEE 802.11-2016 Standard, p. 2392)




       (Source : IEEE 802.11-2016 Standard, p. 2580)


                                                66
Case 4:20-cv-00905-ALM Document 1 Filed 11/23/20 Page 67 of 85 PageID #: 67




       (Source : https://www.pcmag.com/encyclopedia/term/sta)




       (Source : IEEE 802.11-2016 Standard, p. 2393)

       76.     The methods practiced by Defendants’ use of the accused products include

methods where signals are received with said first antenna (ANT1) and second antenna (ANT2)

at moments of time other than in said receiving time slot, when no information is being received.

For example, the accused products are and have been used by Defendant to implement the IEEE

802.11-2016 Standard. A STA in that Standard transmits data in PHY Protocol Data Units

(PPDUs). PPDUs can be transmitted in High Throughput (HT) mode and Very High Throughput

(VHT) mode. A Null Data Packet (NDP) can be transmitted in both HT and VHT Modes.

Training Fields (TFs) inside the NDP carry no data related information and can be used as

sounding PPDUs in beamforming calibration procedures. Sounding PPDUs would help in

channel estimation at the STA. Certain TFs include the interference information which is used


                                               67
 Case 4:20-cv-00905-ALM Document 1 Filed 11/23/20 Page 68 of 85 PageID #: 68




as reference during calibration procedures. The NDPs (“signals received”) in HT-PPDU and

VHT PPDU format includes several TFs which are and have been used as a reference for the

receiver to perform calibration/tuning. Thus, there is no actual data information that is received

during the beamforming calibration procedures (“at moments of time other than in said receiving

time slots”).




(Source : IEEE 802.11-2016 Standard, p. 2393)




(Source : IEEE 802.11-2016 Standard, p. 2347)


                                                 68
Case 4:20-cv-00905-ALM Document 1 Filed 11/23/20 Page 69 of 85 PageID #: 69




(Source : IEEE 802.11-2016 Standard, p. 2514)




(Source : IEEE 802.11-2016 Standard, p. 2347)




(Source : IEEE 802.11-2016 Standard, p. 157)




(Source : IEEE 802.11-2016 Standard, p. 163)




                                                69
Case 4:20-cv-00905-ALM Document 1 Filed 11/23/20 Page 70 of 85 PageID #: 70




(Source : IEEE 802.11-2016 Standard, p. 2580)




(Source : IEEE 802.11-2016 Standard, p. 1485)

       77.     The methods practiced by Defendants’ use of the accused products include

methods in which a reference signal representing interference in said other time slot is formed

and used for the tuning of the receiver in said receiving time slots. For example, the accused

products are and have been used by Defendant to implement the IEEE 802.11-2016 Standard. In

that Standard, beamforming techniques are and have been used to improve the reception at a

receiver STA. These techniques use the channel state information and generate steering matrices

for the transmission of data. There are two types of beamforming methods described in the

standard, Implicit feedback beamforming and Explicit feedback beamforming. A steering

matrix, Qk, is calculated in both beamforming methods. Explicit feedback beamforming enables


                                                70
 Case 4:20-cv-00905-ALM Document 1 Filed 11/23/20 Page 71 of 85 PageID #: 71




a beamformee i.e., receiving STA to calculate beamforming feedback matrix based on the

received sounding packets/PPDUs. NDPs can be used as sounding PPDUs and hence, no

data/information is received during the beamforming procedures. The Standard shows a scenario

wherein STA A (transmit STA) transmits a sounding packet (which can be NDP PPDU) that is

used by STA B (receiving STA) to calculate a beamforming feedback matrix Vk (“reference

signal”). The feedback matrix is later sent to STA A for determining a steering matrix which is

used to tune and re-calibrate the receiver STA in order to demodulate the transmitted signal.

Implicit feedback beamforming enables STA to estimate a MIMO channel and calculate channel

matrices, based on a received sounding PPDU. NDPs can be used as sounding PPDUs and hence,

no data/information is received during the beamforming procedures. The Standard shows a

scenario wherein STA A and STA B (receiving STA) follow beamforming calibration

procedures using sounding PPDUs. STA A and STA B will exchange sounding PPDUs (which

can be NDP PPDUs), using which each of the STAs will estimate respective channel matrices.

Quantized estimates of the channel matrices (“reference signal”) are sent from STA B to STA A.

Later, STA A uses its local estimates and the received quantized estimates from STA B to

calculate set of correction matrices. These correction matrices that are formed using the received

quantized estimates, are applied at transmit side of a STA to correct/tune the amplitude and

phase differences in transmit and receive chains. All the above discussed steps are performed as

a part of beamforming calibration procedures using sounding PPDUs. The Standard also shows

equations for the received signal with beamforming. The channel estimates and beamforming

steering matrix are and have been used to tune and re-calibrate the receiver in order to

demodulate the transmitted signal.




                                                71
Case 4:20-cv-00905-ALM Document 1 Filed 11/23/20 Page 72 of 85 PageID #: 72




(Source : IEEE 802.11-2016 Standard, p. 2392-2393)




(Source : IEEE 802.11-2016 Standard, p. 2393)




                                                72
Case 4:20-cv-00905-ALM Document 1 Filed 11/23/20 Page 73 of 85 PageID #: 73




(Source : IEEE 802.11-2016 Standard, p. 1477)




(Source : IEEE 802.11-2016 Standard, p. 1477)




(Source : IEEE 802.11-2016 Standard, p. 1477)



                                                73
Case 4:20-cv-00905-ALM Document 1 Filed 11/23/20 Page 74 of 85 PageID #: 74




(Source : IEEE 802.11-2016 Standard, p. 1477)




(Source : IEEE 802.11-2016 Standard, p. 2580)




                                                74
Case 4:20-cv-00905-ALM Document 1 Filed 11/23/20 Page 75 of 85 PageID #: 75




(Source : IEEE 802.11-2016 Standard, p. 2393)




(Source : IEEE 802.11-2016 Standard, p. 2395)




                                                75
Case 4:20-cv-00905-ALM Document 1 Filed 11/23/20 Page 76 of 85 PageID #: 76




(Source : IEEE 802.11-2016 Standard, p. 1475)




(Source : IEEE 802.11-2016 Standard, p. 2580)




                                                76
Case 4:20-cv-00905-ALM Document 1 Filed 11/23/20 Page 77 of 85 PageID #: 77




(Source : IEEE 802.11-2016 Standard, p. 2394)




(Source : IEEE 802.11-2016 Standard, p. 2401)




(Source : IEEE 802.11-2016 Standard, p. 2346)




                                                77
Case 4:20-cv-00905-ALM Document 1 Filed 11/23/20 Page 78 of 85 PageID #: 78




(Source : IEEE 802.11-2016 Standard, p. 2392-2393)




(Source : IEEE 802.11-2016 Standard, p. 2393)

       78.     American Patents has been damaged as a result of the infringing conduct by

Defendants alleged above. Thus, Defendants are liable to American Patents in an amount that

adequately compensates it for such infringements, which, by law, cannot be less than a

reasonable royalty, together with interest and costs as fixed by this Court under 35 U.S.C. § 284.




                                                78
 Case 4:20-cv-00905-ALM Document 1 Filed 11/23/20 Page 79 of 85 PageID #: 79




       79.     American Patents and/or its predecessors-in-interest have satisfied all statutory

obligations required to collect pre-filing damages for the full period allowed by law for

infringement of the ‘803 Patent.

             ADDITIONAL ALLEGATIONS REGARDING INFRINGEMENT

       80.     In addition to any specific products mentioned above, the accused products also

include at least the following products: Dish Wireless Joey Access Point, Dish Wireless Joey

Access Point 2, Dish Hopper 3, Dish Hopper Duo, Dish Hopper Duo with Sling, Dish Hopper 3

with Sling, Dish Evolve, Arcadyan Xtream CM4652442, Hughes HT200W, Hughes RE2000,

Arcadyan WN8522D 10-CP, Arcadyan WN8122A65, WN8722BTA-AC, GXT542U, AIOS4-0f,

HEOS 5.X Platform Module, Arcadyan WN9711, Arcadyan WN8522D8CP, Arcadyan

WN8522D3JU, Arcadyan WN8522D7JU, Arcadyan WA8001AAC, Arcadyan WA8001BAC2,

Arcadyan WA9102BAC33, Arcadyan E3200, Arcadyan WN7111A, Arcadyan WN7911B,

Arcadyan CM4652442, Arcadyan WN8122B, and Arcadyan 7911A.

       81.     Defendants have also indirectly infringed the ‘782 Patent, the ‘304 Patent, the

‘458 Patent, and the ‘803 Patent by inducing others to directly infringe the ‘782 Patent, the ‘304

Patent, the ‘458 Patent, and the ‘803 Patent. Defendants have induced the end-users,

Defendants’ customers, to directly infringe (literally and/or under the doctrine of equivalents) the

‘782 Patent, the ‘304 Patent, the ‘458 Patent, and the ‘803 Patent by using the accused products.

       82.     Defendants took active steps, directly and/or through contractual relationships

with others, with the specific intent to cause them to use the accused products in a manner that

infringes one or more claims of the patents-in-suit, including, for example, Claim 30 of the ‘782

Patent, Claim 1 of the ‘304 Patent, Claim 1 of the ‘458 Patent, and Claim 1 of the ‘803 Patent.




                                                79
 Case 4:20-cv-00905-ALM Document 1 Filed 11/23/20 Page 80 of 85 PageID #: 80




        83.     Such steps by Defendants included, among other things, advising or directing

customers and end-users to use the accused products in an infringing manner; advertising and

promoting the use of the accused products in an infringing manner; and/or distributing

instructions that guide users to use the accused products in an infringing manner.

        84.     Defendants have performed these steps, which constitute induced infringement,

with the knowledge of the ‘782 Patent, the ‘304 Patent, the ‘458 Patent, and the ‘803 Patent and

with the knowledge that the induced acts constitute infringement.

        85.     Defendants were and are aware that the normal and customary use of the accused

products by Defendants’ customers would infringe the ‘782 Patent, the ‘304 Patent, the ‘458

Patent, and the ‘803 Patent. Defendants’ inducement is ongoing.

        86.     Defendants have also induced their affiliates, or third-party manufacturers,

shippers, distributors, retailers, or other persons acting on their or their affiliates’ behalf, to

directly infringe (literally and/or under the doctrine of equivalents) the ‘782 Patent, the ‘304

Patent, the ‘458 Patent, and the ‘803 Patent by importing, selling, offering to sell, and/or using

the accused products.

        87.     Defendants have at least a significant role in placing the accused products in the

stream of commerce in Texas and elsewhere in the United States.

        88.     Defendants direct or control the making of accused products and their shipment to

the United States, using established distribution channels, for sale in Texas and elsewhere within

the United States.

        89.     Defendants direct or control the sale of the accused products into established

United States distribution channels, including sales to nationwide retailers.




                                                   80
 Case 4:20-cv-00905-ALM Document 1 Filed 11/23/20 Page 81 of 85 PageID #: 81




       90.     Defendants’ established United States distribution channels include one or more

United States based affiliates (e.g., at least Dish Wireless LLC, Boost Mobile, Sling TV, Sling

Media, Blockbuster LLC, OnTech Smart Services, Ting Inc., and Arcadyan Technology North

America Corporation).

       91.     Defendants direct or control the sale of the accused products online on their

websites as well as in nationwide retailers such as Walmart and Amazon, and in nationwide Dish

Stores and service centers, including for sale in Texas and elsewhere in the United States, and

expects and intends that the accused products will be so sold.

       92.     Defendants took active steps, directly and/or through contractual relationships

with others, with the specific intent to cause such persons to import, sell, or offer to sell the

accused products in a manner that infringes one or more claims of the patents-in-suit, including,

for example, Claim 30 of the ‘782 Patent, Claim 1 of the ‘304 Patent, Claim 1 of the ‘458 Patent,

and Claim 1 of the ‘803 Patent.

       93.     Such steps by Defendants included, among other things, making or selling the

accused products outside of the United States for importation into or sale in the United States, or

knowing that such importation or sale would occur; and directing, facilitating, or influencing its

affiliates, or third-party manufacturers, shippers, distributors, retailers, or other persons acting on

its or their behalf, to import, sell, or offer to sell the accused products in an infringing manner.

       94.     Defendants performed these steps, which constitute induced infringement, with

the knowledge of the ‘782 Patent, the ‘304 Patent, the ‘458 Patent, and the ‘803 Patent and with

the knowledge that the induced acts would constitute infringement.

       95.     Defendants performed such steps in order to profit from the eventual sale of the

accused products in the United States.



                                                  81
 Case 4:20-cv-00905-ALM Document 1 Filed 11/23/20 Page 82 of 85 PageID #: 82




          96.    Defendants’ inducement is ongoing.

          97.    Defendants have also indirectly infringed by contributing to the infringement of

the ‘782 Patent, the ‘304 Patent, the ‘458 Patent, and the ‘803 Patent. Defendants have

contributed to the direct infringement of the ‘782 Patent, the ‘304 Patent, the ‘458 Patent, and the

‘803 Patent by the end-user of the accused products.

          98.    The accused products have special features that are specially designed to be used

in an infringing way and that have no substantial uses other than ones that infringe the ‘782

Patent, the ‘304 Patent, the ‘458 Patent, and the ‘803 Patent, including, for example, Claim 30 of

the ‘782 Patent, Claim 1 of the ‘304 Patent, Claim 1 of the ‘458 Patent, and Claim 1 of the ‘803

Patent.

          99.    As described above, the special features include improved wireless

communication capabilities used in a manner that infringes the ‘782 Patent, the ‘304 Patent, the

‘458 Patent, and the ‘803 Patent.

          100.   The special features constitute a material part of the invention of one or more of

the claims of the ‘782 Patent, the ‘304 Patent, the ‘458 Patent, and the ‘803 Patent and are not

staple articles of commerce suitable for substantial non-infringing use.

          101.   Defendants’ contributory infringement is ongoing.

          102.   Furthermore, Defendants have a policy or practice of not reviewing the patents of

others (including instructing its employees to not review the patents of others), and thus has been

willfully blind of American Patents’ patent rights. See, e.g., M. Lemley, “Ignoring Patents,”

2008 Mich. St. L. Rev. 19 (2008).

          103.   Defendants’ actions are at least objectively reckless as to the risk of infringing

valid patents and this objective risk was either known or should have been known by Defendants.



                                                   82
 Case 4:20-cv-00905-ALM Document 1 Filed 11/23/20 Page 83 of 85 PageID #: 83




       104.    Defendants have knowledge of the ‘782 Patent, the ‘304 Patent, the ‘458 Patent,

and the ‘803 Patent.

       105.    Defendants’ customers have infringed the ‘782 Patent, the ‘304 Patent, the ‘458

Patent, and the ‘803 Patent.

       106.    Defendants encouraged their customers’ infringement.

       107.    Defendants’ direct and indirect infringement of the ‘782 Patent, the ‘304 Patent,

the ‘458 Patent, and the ‘803 Patent is, has been, and/or continues to be willful, intentional,

deliberate, and/or in conscious disregard of American Patents’ rights under the patents.

       108.    American Patents has been damaged as a result of the infringing conduct by

Defendants alleged above. Thus, Defendants are liable to American Patents in an amount that

adequately compensates it for such infringements, which, by law, cannot be less than a

reasonable royalty, together with interest and costs as fixed by this Court under 35 U.S.C. § 284.

                                         JURY DEMAND

       American Patents hereby requests a trial by jury on all issues so triable by right.

                                     PRAYER FOR RELIEF

       American Patents requests that the Court find in its favor and against Defendants, and

that the Court grant American Patents the following relief:

       a.      Judgment that one or more claims of the ‘782 Patent, the ‘304 Patent, the ‘458

Patent, and the ‘803 Patent have been infringed, either literally and/or under the doctrine of

equivalents, by Defendants and/or all others acting in concert therewith;

       b.      A permanent injunction enjoining Defendants and their officers, directors, agents,

servants, affiliates, employees, divisions, branches, subsidiaries, parents, and all others acting in

concert therewith from infringement of the ‘782 Patent, the ‘304 Patent, and the ‘458 Patent; or,



                                                  83
 Case 4:20-cv-00905-ALM Document 1 Filed 11/23/20 Page 84 of 85 PageID #: 84




in the alternative, an award of a reasonable ongoing royalty for future infringement of the ‘782

Patent, the ‘304 Patent, and the ‘458 Patent by such entities;

       c.      Judgment that Defendants account for and pay to American Patents all damages to

and costs incurred by American Patents because of Defendants’ infringing activities and other

conduct complained of herein, including an award of all increased damages to which American

Patents is entitled under 35 U.S.C. § 284;

       d.      That American Patents be granted pre-judgment and post-judgment interest on the

damages caused by Defendants’ infringing activities and other conduct complained of herein;

       e.      That this Court declare this an exceptional case and award American Patents its

reasonable attorney’s fees and costs in accordance with 35 U.S.C. § 285; and

       f.      That American Patents be granted such other and further relief as the Court may

deem just and proper under the circumstances.

Dated: November 23, 2020                      Respectfully submitted,

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                                                 84
Case 4:20-cv-00905-ALM Document 1 Filed 11/23/20 Page 85 of 85 PageID #: 85




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                                    85
